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                                                       Page 11 of
                                                               of 88
                                                                  90
Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Suzanne
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        H.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Uppman
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2878
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
             Case
              Case8:19-bk-12917-MW
                   8:19-bk-12917-MW Doc
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                                                       Page 22 of
                                                               of 88
                                                                  90
Debtor 1   Suzanne H. Uppman                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification    I have not used any business name or EINs.
     Numbers (EIN) you have                                                                       I have not used any business name or EINs.
     used in the last 8 years
                              DBA Suzanne's Candy Legacy LLC / Rocket
                                 Fizz
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names
                                 XX-XXXXXXX
                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 8602 E. Sunnywalk Lane
                                 Anaheim, CA 92808-1689
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Orange
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
             Case
              Case8:19-bk-12917-MW
                   8:19-bk-12917-MW Doc
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                                     CORRECT
                                          Document
                                                 PDF Page
                                                       Page 33 of
                                                               of 88
                                                                  90
Debtor 1    Suzanne H. Uppman                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
             Case
              Case8:19-bk-12917-MW
                   8:19-bk-12917-MW Doc
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                                          Document
                                                 PDF Page
                                                       Page 44 of
                                                               of 88
                                                                  90
Debtor 1    Suzanne H. Uppman                                                                              Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
             Case
              Case8:19-bk-12917-MW
                   8:19-bk-12917-MW Doc
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                                                 PDF Page
                                                       Page 55 of
                                                               of 88
                                                                  90
Debtor 1    Suzanne H. Uppman                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Case
 Case8:19-bk-12917-MW
      8:19-bk-12917-MW Doc
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                                          Page 66 of
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                                                PDF Page
                                                      Page 77 of
                                                              of 88
                                                                 90
Debtor 1   Suzanne H. Uppman                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Judith E. Marshack                                             Date         July 26, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Judith E. Marshack
                                Printed name

                                MARSHACK HAYS LLP
                                Firm name

                                870 Roosevelt
                                Irvine, CA 92620-3663
                                Number, Street, City, State & ZIP Code

                                Contact phone     (949) 333-7777                             Email address         jmarshack@marshackhays.com
                                163871 CA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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                                          Page 88 of
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                                                  PDF Page
                                                        Page 99 of
                                                                of 88
                                                                   90
 Fill in this information to identify your case:

 Debtor 1                   Suzanne H. Uppman
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             920,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $                 7,682.04

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             927,682.04

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             773,500.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                 7,760.28

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          2,153,366.03


                                                                                                                                     Your total liabilities $               2,934,626.31


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 2,234.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 8,468.87

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 10
                                                        10 of
                                                           of 88
                                                              90
 Debtor 1      Suzanne H. Uppman                                                          Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $             0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              7,760.28

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 7,760.28




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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             Case8:19-bk-12917-MW
                  8:19-bk-12917-MW Doc
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                                        Document
                                              PDF Page
                                                     Page 11
                                                          11 of
                                                             of 88
                                                                90
 Fill in this information to identify your case and this filing:

 Debtor 1                    Suzanne H. Uppman
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        8602 E Sunnywalk Lane
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                        Duplex or multi-unit building             the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Anaheim                           CA        92808-1689                         Land                                      entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                              $920,000.00                $920,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                       Debtor 1 only
        Orange                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $920,000.00


 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                      Document
                                            PDF Page
                                                   Page 12
                                                        12 of
                                                           of 88
                                                              90
 Debtor 1        Suzanne H. Uppman                                                                                  Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       GMC                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Envoy                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2004                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                135,000            Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        Body damage
        Location: 8602 E. Sunnywalk                             Check if this is community property                                    $3,000.00                  $3,000.00
                                                                     (see instructions)
        Lane, Anaheim CA 92808-1689


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $3,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Misc. household items including, furniture, appliances, etc.                                                                    $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    TV, iPad2 and cell phone
                                    Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                           $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    Misc. artwork (prints, canvas)
                                    Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                           $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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             Case8:19-bk-12917-MW
                  8:19-bk-12917-MW Doc
                                    Doc1-2
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                                        Document
                                              PDF Page
                                                     Page 13
                                                          13 of
                                                             of 88
                                                                90
 Debtor 1          Suzanne H. Uppman                                                                                        Case number (if known)

     Yes.       Describe.....

                                            Treadmill
                                            Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                 $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Miscellaneous clothing and shoes
                                            Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                 $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

                                            1 diamond wedding ring (less than 1/2 carat)
                                            Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                 $750.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

                                            2 dogs
                                            Location: 8602 E. Sunnywalk Lane, Anaheim CA 92808-1689                                                                   $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $4,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                        page 3
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 14
                                                        14 of
                                                           of 88
                                                              90
 Debtor 1       Suzanne H. Uppman                                                                     Case number (if known)


                                                                                                         Cash
                                                                                                         Location:
                                                                                                         8602 E.
                                                                                                         Sunnywalk
                                                                                                         Lane,
                                                                                                         Anaheim CA
                                                                                                         92808-1689                              $40.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:
                                                                            Bank Name: Union Bank Priority Banking
                                                                            Account No. ending in 9737
                                                                            Held by: Debtor - Jaime Uppman Holzhauer
                                                                            (daughter) is a signer on the account
                                                                            Location: 701 S. Weir Canyon Road, Suite 101
                                      17.1.    Checking                     Anaheim, CA 92808                                                    $92.04

                                                                            Union Bank Acct No. Ending 9661 (Money
                                               Other financial              Market Acct.) - Account Closed approximately
                                      17.2.    account                      May 16, 2019.                                                          $0.00

                                                                            Union Bank Acct No. Ending 7054 (Savings
                                                                            Acct.) - Account Closed approximately May
                                      17.3.    Savings                      16, 2019.                                                              $0.00

                                                                            Union Bank Acct No. Ending 6154 (Checking
                                                                            Acct.)- Account Closed approximately May
                                      17.4.    Checking                     16, 2019.                                                              $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                   % of ownership:

                                         Suzanne's Candy Legacy, LLC - The business is
                                         owned by Suzanne's Candy Legacy, LLC which
                                         operated the store located at 5282 2nd Street,
                                         Long Beach CA, 90803-5331, but the franchise
                                         agreement is in the name of the Debtor. The
                                         store has been closed. The remaining assets are
                                         inventory, furniture, fixtures, equipment, and
                                         potential claims against the franchisor. A
                                         summary of the assets and liabilities of the LLC
                                         is attached as Exhibit 1 to this petition.                         100          %                   Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                         Issuer name:


Official Form 106A/B                                                 Schedule A/B: Property                                                        page 4
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
                                   Doc1-2
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                                       Document
                                             PDF Page
                                                    Page 15
                                                         15 of
                                                            of 88
                                                               90
 Debtor 1        Suzanne H. Uppman                                                                          Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              Rocket Fizz LLC (Franchisor)
                                              Store #1 - 5282 E. 002 Street, Long Beach, CA 90803 - Store closed
                                              April 11, 2019                                                                                         Unknown


 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
                                   Doc1-2
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                                       Document
                                             PDF Page
                                                    Page 16
                                                         16 of
                                                            of 88
                                                               90
 Debtor 1        Suzanne H. Uppman                                                                                               Case number (if known)

     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

                                             State Farm Insurance
                                             Life Insurance - Death benefit in the
                                             amount of $220,000. No value until                                       Jaime C. Uppman /
                                             death.                                                                   Holzhauer                                             Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.      Describe each claim.........

                                                          Potential claims against Franchisor. Huntington Beach
                                                          location never opened. $60,000 was paid for this potential
                                                          location. Debtor requested the $60,000 to be returned to her,
                                                          but has yet to receive it.                                                                                        Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $132.04


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        Printer and iPad                                                                                                                        $50.00



Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 6
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
                                   Doc1-2
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                                  Main
                                   CORRECT
                                       Document
                                             PDF Page
                                                    Page 17
                                                         17 of
                                                            of 88
                                                               90
 Debtor 1        Suzanne H. Uppman                                                                                               Case number (if known)

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....

41. Inventory
    No
     Yes.      Describe.....


                                        See attached for Inventory.                                                                                                 Unknown


42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                             Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....



44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................        $50.00

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                            $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                     page 7
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            Case
             Case8:19-bk-12917-MW
                  8:19-bk-12917-MW Doc
                                    Doc1-2
                                        1 Filed
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                                                 07/26/19 Entered
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                                   Main
                                    CORRECT
                                        Document
                                              PDF Page
                                                     Page 18
                                                          18 of
                                                             of 88
                                                                90
 Debtor 1         Suzanne H. Uppman                                                                                                     Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $920,000.00
 56. Part 2: Total vehicles, line 5                                                                             $3,000.00
 57. Part 3: Total personal and household items, line 15                                                        $4,500.00
 58. Part 4: Total financial assets, line 36                                                                      $132.04
 59. Part 5: Total business-related property, line 45                                                              $50.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $7,682.04             Copy personal property total         $7,682.04

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $927,682.04




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 8
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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
                                      Doc1-2
                                          1 Filed
                                             Filed07/26/19
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                                     Main
                                      CORRECT
                                          Document
                                                PDF Page
                                                       Page 19
                                                            19 of
                                                               of 88
                                                                  90
 Fill in this information to identify your case:

 Debtor 1                Suzanne H. Uppman
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      8602 E Sunnywalk Lane Anaheim, CA                                                                                          C.C.P. § 704.730
      92808-1689 Orange County
                                                                     $920,000.00                               $146,500.00
      Line from Schedule A/B: 1.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2004 GMC Envoy 135,000 miles                                                                                               C.C.P. § 704.010
      Body damage
                                                                       $3,000.00                                  $3,000.00
      Location: 8602 E. Sunnywalk Lane,                                                  100% of fair market value, up to
      Anaheim CA 92808-1689                                                                   any applicable statutory limit
      Line from Schedule A/B: 3.1

      Misc. household items including,                                                                                           C.C.P. § 704.020
      furniture, appliances, etc.
                                                                       $2,500.00                                  $2,500.00
      Line from Schedule A/B: 6.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      TV, iPad2 and cell phone                                                                                                   C.C.P. § 704.020
      Location: 8602 E. Sunnywalk Lane,
                                                                          $300.00                                   $300.00
      Anaheim CA 92808-1689                                                              100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                             any applicable statutory limit

      Misc. artwork (prints, canvas)                                                                                             C.C.P. § 704.040
      Location: 8602 E. Sunnywalk Lane,
                                                                          $500.00                                   $500.00
      Anaheim CA 92808-1689                                                              100% of fair market value, up to
      Line from Schedule A/B: 8.1                                                             any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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            Case
             Case8:19-bk-12917-MW
                  8:19-bk-12917-MW Doc
                                    Doc1-2
                                        1 Filed
                                           Filed07/26/19
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                                   Main
                                    CORRECT
                                        Document
                                              PDF Page
                                                     Page 20
                                                          20 of
                                                             of 88
                                                                90
 Debtor 1    Suzanne H. Uppman                                                                           Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Treadmill                                                                                                                    C.C.P. § 704.020
     Location: 8602 E. Sunnywalk Lane,
                                                                         $100.00                                  $100.00
     Anaheim CA 92808-1689                                                             100% of fair market value, up to
     Line from Schedule A/B: 9.1                                                           any applicable statutory limit

     Miscellaneous clothing and shoes                                                                                             C.C.P. § 704.020
     Location: 8602 E. Sunnywalk Lane,
                                                                         $300.00                                  $300.00
     Anaheim CA 92808-1689                                                             100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     1 diamond wedding ring (less than                                                                                            C.C.P. § 704.040
     1/2 carat)
                                                                         $750.00                                  $750.00
     Location: 8602 E. Sunnywalk Lane,                                                 100% of fair market value, up to
     Anaheim CA 92808-1689                                                                 any applicable statutory limit
     Line from Schedule A/B: 12.1

     State Farm Insurance                                                                                                         C.C.P. § 704.100
     Life Insurance - Death benefit in the
                                                                      Unknown                                         1.00
     amount of $220,000. No value until                                                100% of fair market value, up to
     death.                                                                                any applicable statutory limit
     Beneficiary: Jaime C. Uppman /
     Holzhauer
     Line from Schedule A/B: 31.1

     Printer and iPad                                                                                                             C.C.P. § 704.020
     Line from Schedule A/B: 39.1
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
                                      Doc1-2
                                          1 Filed
                                             Filed07/26/19
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                                                                                       Desc
                                     Main
                                      CORRECT
                                          Document
                                                PDF Page
                                                       Page 21
                                                            21 of
                                                               of 88
                                                                  90
 Fill in this information to identify your case:

 Debtor 1                   Suzanne H. Uppman
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                              Column A                Column B                   Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim         Value of collateral        Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                    Do not deduct the       that supports this         portion
                                                                                                              value of collateral.    claim                      If any

 2.1
         Oak Angel Mortgage
         Solutions LLC                            Describe the property that secures the claim:                  $773,500.00                $920,000.00                     $0.00
         Creditor's Name                          8602 E Sunnywalk Lane Anaheim,
                                                  CA 92808-1689 Orange County
                                                  As of the date you file, the claim is: Check all that
         980 Hammond Dr Ste 850                   apply.
         Atlanta, GA 30328-8120                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
                                                       car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)    Mortgage
       community debt

 Date debt was incurred          01/09/19                  Last 4 digits of account number        8585


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $773,500.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $773,500.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.1
          Select Portfolio Services
          P.O. Box 65250                                                                           Last 4 digits of account number   9349
          Salt Lake City, UT 84165-0250




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            page 1 of 1
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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
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                                                PDF Page
                                                       Page 22
                                                            22 of
                                                               of 88
                                                                  90
 Fill in this information to identify your case:

 Debtor 1                   Suzanne H. Uppman
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
              California Dept. of Tax & Fee
 2.1          Admin                                                  Last 4 digits of account number       1494               $5,063.71         $5,063.71                   $0.00
              Priority Creditor's Name
              P.O. Box 942789                                        When was the debt incurred?
              Sacramento, CA 94279-3535
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Sales and Use Tax




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                            PDF Page
                                                   Page 23
                                                        23 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                                Case number (if known)

          Employment Development
 2.2      Department                                                 Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          Bankruptcy Group MIC 92E                                   When was the debt incurred?
          P.O. Box 826880
          Sacramento, CA 94280-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             Notice purposes only.

 2.3      Franchise Tax Board                                        Last 4 digits of account number     0343                  $900.00     $900.00              $0.00
          Priority Creditor's Name
          Bankruptcy Section, MS:A-340                               When was the debt incurred?
          PO Box 2952
          Sacramento, CA 95812-2952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             2018 Payment Voucher for LLC e-filed Returns

 2.4      Franchise Tax Board                                        Last 4 digits of account number     0343                  $800.00     $800.00              $0.00
          Priority Creditor's Name
          Bankruptcy Section, MS:A-340                               When was the debt incurred?
          P.O. Box 2952
          Sacramento, CA 95812-2952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
        Debtor 1 only                                                Unliquidated
        Debtor 2 only                                                Disputed
        Debtor 1 and Debtor 2 only                                  Type of PRIORITY unsecured claim:

        At least one of the debtors and another                      Domestic support obligations
        Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
        No                                                           Other. Specify
        Yes                                                                             2019 LLC Tax Voucher




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 31
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                       Document
                                             PDF Page
                                                    Page 24
                                                         24 of
                                                            of 88
                                                               90
 Debtor 1 Suzanne H. Uppman                                                                                Case number (if known)

 2.5        Franchise Tax Board                                      Last 4 digits of account number     0343                   $900.00                $900.00                   $0.00
            Priority Creditor's Name
            Bankruptcy Section, MS:A-340                             When was the debt incurred?
            P.O. Box 2952
            Sacramento, CA 95812-2952
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            2019 Estimated Fee for LLCs

 2.6        Internal Revenue Service                                 Last 4 digits of account number                         Unknown                      $0.00                  $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice Purposes Only

            Los Angeles County Tax
 2.7        Collector                                                Last 4 digits of account number     9427                      $96.57                $96.57                  $0.00
            Priority Creditor's Name
            PO Box 54027                                             When was the debt incurred?         2019
            Los Angeles, CA 90054
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Property Tax - Business Location Long Beach


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 3 of 31
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                       Document
                                             PDF Page
                                                    Page 25
                                                         25 of
                                                            of 88
                                                               90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

       Part 2.
                                                                                                                                                       Total claim

 4.1        American Express                                         Last 4 digits of account number       1001                                                $29,010.00
            Nonpriority Creditor's Name
            PO Box 981537                                            When was the debt incurred?           10/1982
            El Paso, TX 79998-1537
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     Other. Specify     Credit card


 4.2        American Express                                         Last 4 digits of account number       1010                                                  $5,447.00
            Nonpriority Creditor's Name
            PO Box 981537                                            When was the debt incurred?           04/2019
            El Paso, TX 79998
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     Other. Specify     Credit card


 4.3        American First Credit                                    Last 4 digits of account number       0700                                                          $0.00
            Nonpriority Creditor's Name
                                                                                                           Opened 11/03 Last Active
            6 Pointe D R Ste 400am F                                 When was the debt incurred?           9/07/10
            Brea, CA 92821
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                           Contingent
             Debtor 2 only                                           Unliquidated
             Debtor 1 and Debtor 2 only                              Disputed
             At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                  Student loans
            debt                                                      Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                     Other. Specify     Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 4 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                            PDF Page
                                                   Page 26
                                                        26 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.4      Amex                                                       Last 4 digits of account number       2413                                                  $0.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 4/04/19 Last Active
          Po Box 981540                                              When was the debt incurred?           6/03/19
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.5      Amex                                                       Last 4 digits of account number       2773                                                  $0.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 04/82 Last Active
          Po Box 981540                                              When was the debt incurred?           08/16
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.6      Amex                                                       Last 4 digits of account number       2963                                                  $0.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 12/82 Last Active
          Po Box 981540                                              When was the debt incurred?           07/09
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                      Document
                                            PDF Page
                                                   Page 27
                                                        27 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.7      Capital One                                                Last 4 digits of account number                                                         $657.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?           07/2011
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.8      Capital One                                                Last 4 digits of account number       8286                                              $760.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 07/11 Last Active
          Po Box 30285                                               When was the debt incurred?           5/20/19
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.9      Chase Card Services                                        Last 4 digits of account number                                                       $3,233.00
          Nonpriority Creditor's Name
          PO Box 15369                                               When was the debt incurred?           05/2013
          Wilmington, DE 19850-5798
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 28
                                                        28 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.1
 0        Chase Card Services                                        Last 4 digits of account number                                                       $3,577.00
          Nonpriority Creditor's Name
          PO Box 15369                                               When was the debt incurred?           03/2013
          Wilmington, DE 19850-5798
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.1
 1        Chase Card Services                                        Last 4 digits of account number       0283                                            $3,624.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/13 Last Active
          Po Box 15298                                               When was the debt incurred?           6/15/19
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.1
 2        Chase Card Services                                        Last 4 digits of account number       4849                                            $3,576.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/13 Last Active
          Po Box 15298                                               When was the debt incurred?           6/26/19
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 7 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 29
                                                        29 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.1
 3        Citi                                                       Last 4 digits of account number                                                       $6,345.00
          Nonpriority Creditor's Name
          PO Box 6190                                                When was the debt incurred?           09/2017
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.1
 4        Citi Cards/Citibank                                        Last 4 digits of account number                                                       $5,196.00
          Nonpriority Creditor's Name
          PO Box 6241                                                When was the debt incurred?           06/2010
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.1
 5        Citibank                                                   Last 4 digits of account number       3661                                            $5,544.00
          Nonpriority Creditor's Name
          Attn: Recovery/Centralized                                                                       Opened 06/10 Last Active
          Bankruptcy                                                 When was the debt incurred?           3/08/19
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 30
                                                        30 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.1
 6        City of Long Beach                                         Last 4 digits of account number       3922                                                $93.86
          Nonpriority Creditor's Name
          333 West Ocean Blvd.                                       When was the debt incurred?           2019
          Long Beach, CA 90802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Utility


 4.1
 7        Comenity Bank/Overstock                                    Last 4 digits of account number       2761                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/14 Last Active
          Po Box 182125                                              When was the debt incurred?           11/18
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.1
 8        Comenity Capital Bank/HSN                                  Last 4 digits of account number       3738                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 08/14 Last Active
          Po Box 182125                                              When was the debt incurred?           2/28/19
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 31
                                                        31 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.1
 9        Comenity Capital/hsnmc                                     Last 4 digits of account number       7414                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/10 Last Active
          Po Box 182125                                              When was the debt incurred?           10/27/10
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.2
 0        Comenity CB/HSN                                            Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          PO Box 182120                                              When was the debt incurred?           08/2014
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.2
 1        Commissioner of the Department of                          Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          Business Oversight                                         When was the debt incurred?
          320 West 4th Street, Suite 750
          Los Angeles, CA 90013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 10 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 32
                                                        32 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.2
 2        Conejo Valley                                              Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          1390 Flynn Road, Suite F                                   When was the debt incurred?
          Camarillo, CA 93012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.2
 3        Costco Anywhere Visa Card                                  Last 4 digits of account number       8293                                            $6,434.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/17 Last Active
          Po Box 6500                                                When was the debt incurred?           5/12/19
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.2
 4        Department of Business Oversight                           Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          320 West 4th Street, Suite 750                             When was the debt incurred?
          Los Angeles, CA 90013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 11 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 33
                                                        33 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.2
 5        Dept Of Ed/582/nelnet                                      Last 4 digits of account number       9279                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 01/03 Last Active
          3015 Parker Blvd., Suite 400                               When was the debt incurred?           03/14
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.2
 6        Dept Of Ed/582/nelnet                                      Last 4 digits of account number       9179                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 01/03 Last Active
          3015 Parker Blvd., Suite 400                               When was the debt incurred?           03/14
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.2
 7        Discover Bank                                              Last 4 digits of account number                                                     $25,195.00
          Nonpriority Creditor's Name
          PO Box 15316                                               When was the debt incurred?           01/2017
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 12 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 34
                                                        34 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.2
 8        Discover Financial                                         Last 4 digits of account number       9145                                            $8,166.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 11/13/11 Last Active
          Po Box 15316                                               When was the debt incurred?           5/26/19
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.2
 9        Discover Financial Services                                Last 4 digits of account number                                                       $8,014.00
          Nonpriority Creditor's Name
          PO Box 15316                                               When was the debt incurred?           11/2011
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.3
 0        Discover Personal Loan                                     Last 4 digits of account number       6273                                          $25,443.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/17 Last Active
          Po Box 30954                                               When was the debt incurred?           1/27/19
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 13 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
                                      1 Filed
                                         Filed07/26/19
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                                                                 07/26/1917:06:51
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 35
                                                        35 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.3
 1        EDCO                                                       Last 4 digits of account number       7431                                              $249.53
          Nonpriority Creditor's Name
          P.O. Box 116                                               When was the debt incurred?
          Lakewood, CA 90714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt - Trash Container Company


 4.3
 2        Elavon                                                     Last 4 digits of account number       0388                                              $195.41
          Nonpriority Creditor's Name
          P.O. Box 86                                                When was the debt incurred?
          Minneapolis, MN 55486-2291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.3      Employment Development
 3        Department                                                 Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          Bankruptcy Group MIC 92E                                   When was the debt incurred?
          P.O. Box 826880
          Sacramento, CA 94280-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 14 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                               07/26/19 Entered
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                                                                 07/26/1917:06:51
                                                                          17:06:51 Desc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 36
                                                        36 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.3
 4        Fidelity Brokerage Services, LLC                           Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          Member NYSE, SIPC                                          When was the debt incurred?
          900 Salem Street
          Smithfield, RI 02917
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.3
 5        Frontier Communications                                    Last 4 digits of account number       4175                                              $210.28
          Nonpriority Creditor's Name
          P.O. Box 740407                                            When was the debt incurred?           2019
          Cincinnati, OH 45274-0407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Utility


 4.3
 6        Fundzio LLC                                                Last 4 digits of account number       1306                                          $15,000.00
          Nonpriority Creditor's Name
          6499 Powerline Road, Suite 108                             When was the debt incurred?           October 1, 2018
          Fort Lauderdale, FL 33309
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Purchase and sale of future receivables
                                                                                          from Suzanne's Candy Legacy to Fundzio
                                                                                          LLC - purchase price of $15,000. Receipts
           Yes                                                       Other. Specify     purchased amount: $21,885.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 15 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 37
                                                        37 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.3
 7        Itria Ventures LLC                                         Last 4 digits of account number       3418                                          $56,279.81
          Nonpriority Creditor's Name
          462 Seventh Ave 20th Fl                                    When was the debt incurred?           04/2019
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
                                                                      Student loans
           Check if this claim is for a community
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Judgment


 4.3
 8        Jaime Uppman Holzhauer                                     Last 4 digits of account number                                                     $15,000.00
          Nonpriority Creditor's Name
          8602 E. Sunnywalk Lane                                     When was the debt incurred?
          Anaheim, CA 92808-1689
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt


 4.3
 9        John C. Lostetter                                          Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          5325 E. Pacific Coast Highway, Box                         When was the debt incurred?
          Long Beach, CA 90804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 16 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                         Filed07/26/19
                                               07/26/19 Entered
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                                                                 07/26/1917:06:51
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 38
                                                        38 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.4
 0        Jonathan S. Gitlin, Esq.                                   Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          462 Seventh Ave 20th Fl                                    When was the debt incurred?
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.4
 1        Kabbage, Inc.                                              Last 4 digits of account number       7478                                          $35,030.30
          Nonpriority Creditor's Name
          PO Box 77081                                               When was the debt incurred?
          Houston, TX 77081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business loan account


 4.4
 2        Kohls /Capone                                              Last 4 digits of account number       8710                                            $1,617.00
          Nonpriority Creditor's Name
          PO Box 3115                                                When was the debt incurred?           04/2006
          Milwaukee, WI 53201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 17 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                               07/26/19 Entered
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                                                                 07/26/1917:06:51
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 39
                                                        39 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.4
 3        Kris Simonich                                              Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          1421 Ambleside Circle                                      When was the debt incurred?
          Naperville, IL 60540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.4
 4        Lewitt, Hackman, Shapiro, Marshall                         Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          16633 Ventura Boulevard, 11th                              When was the debt incurred?
          Floor
          Encino, CA 91436
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.4
 5        LoanMe, Inc.                                               Last 4 digits of account number       6624                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/17 Last Active
          1900 S State College Blvd                                  When was the debt incurred?           2/01/17
          Anaheim, CA 92806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 18 of 31
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
                                      1 Filed
                                         Filed07/26/19
                                               07/26/19 Entered
                                                         Entered07/26/19
                                                                 07/26/1917:06:51
                                                                          17:06:51 Desc
                                                                                   Desc
                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 40
                                                        40 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.4
 6        Mufg Union Bank N.a.                                       Last 4 digits of account number       2267                                              $559.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 06/08 Last Active
          400 California Street 12th Floor                           When was the debt incurred?           6/11/19
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.4
 7        Nelnet                                                     Last 4 digits of account number       9299                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Claims                                                                                     Opened 01/03 Last Active
          Po Box 82505                                               When was the debt incurred?           4/18/13
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.4
 8        Nelnet                                                     Last 4 digits of account number       9399                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Claims                                                                                     Opened 01/03 Last Active
          Po Box 82505                                               When was the debt incurred?           4/18/13
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 19 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
                                      1 Filed
                                         Filed07/26/19
                                               07/26/19 Entered
                                                         Entered07/26/19
                                                                 07/26/1917:06:51
                                                                          17:06:51 Desc
                                                                                   Desc
                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 41
                                                        41 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.4
 9        Nelnet / Education Financial                               Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          PO Box 82561                                               When was the debt incurred?           01/2003
          Lincoln, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Education loan
 4.5
 0        Nordstrom /TD Bank USA                                     Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          13531 E Caley Ave                                          When was the debt incurred?           03/2015
          Englewood, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.5
 1        Nordstrom FSB                                              Last 4 digits of account number       2940                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/15 Last Active
          Po Box 6555                                                When was the debt incurred?           8/16/15
          Englewood, CO 80155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 20 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 42
                                                        42 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.5
 2        Ocwen Loan Servicing, LLC                                  Last 4 digits of account number       5566                                                  $0.00
          Nonpriority Creditor's Name
          1661 Worthington Road                                                                            Opened 09/06 Last Active
          Suite 100                                                  When was the debt incurred?           2/08/16
          West Palm Beach, FL 33409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Real Estate Mortgage


 4.5
 3        OneWest Bank Mortgage Servicing                            Last 4 digits of account number       4257                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy, OneWest Bank                                                                   Opened 9/27/06 Last Active
          Po Box 7056                                                When was the debt incurred?           10/03/13
          Pasadena, CA 91109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Real Estate Mortgage


 4.5
 4        OneWest Bank Mortgage Servicing                            Last 4 digits of account number       2703                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy, OneWest Bank                                                                   Opened 05/07 Last Active
          Po Box 7056                                                When was the debt incurred?           3/11/16
          Pasadena, CA 91109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Line Secured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 21 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 43
                                                        43 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.5
 5        POD'S ENTERPRISE, LLC                                      Last 4 digits of account number       7223                                                  $0.00
          Nonpriority Creditor's Name
          5585 Rio Vista Drive                                       When was the debt incurred?
          Clearwater, FL 33760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.5
 6        Rebecca's Janitorial                                       Last 4 digits of account number       reet                                              $200.00
          Nonpriority Creditor's Name
          700 E Washington St #94                                    When was the debt incurred?           04/2019
          Colton, CA 92324
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.5
 7        Rhett Batanides                                            Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          2907 Providence Road, Suite 302                            When was the debt incurred?
          Charlotte, NC 28211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 22 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 44
                                                        44 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.5
 8        Rocket Fizz, LLC                                           Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          770 MaysBlvd., #5400                                       When was the debt incurred?
          Incline Village, NV 89450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.5
 9        Roger Kube                                                 Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          1455 Frazee Rd Ste 550                                     When was the debt incurred?
          San Diego, CA 92108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.6
 0        RPM Summit Group, LLC                                      Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          770 Mays Blvd.                                             When was the debt incurred?
          #5400
          Incline Village, NV 89450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Franchise Fees/Royalty Fees




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 23 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 45
                                                        45 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.6
 1        Santa Fe Management, Inc.                                  Last 4 digits of account number       NDST                                        $1,080,477.33
          Nonpriority Creditor's Name
          11021 Winners Circle #200                                  When was the debt incurred?           03/01/2019
          Los Alamitos, CA 90720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Rent, past due and late fees, legal fees, unit
                                                                                          cleaning and commission prorate
           Yes                                                       Other. Specify     (Business location).

 4.6
 2        Scott Holzhauer                                            Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          3493 Shipway Avenue                                        When was the debt incurred?
          Long Beach, CA 90808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.6
 3        Sears / CBNA                                               Last 4 digits of account number       0990                                            $5,782.00
          Nonpriority Creditor's Name
          PO Box 6217                                                When was the debt incurred?           05/2013
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 24 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 46
                                                        46 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.6
 4        Select Portfolio Servicing, Inc                            Last 4 digits of account number       9349                                         $771,972.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/19 Last Active
          Po Box 65250                                               When was the debt incurred?           5/17/19
          Salt Lake City, UT 84165
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Real Estate Mortgage


 4.6
 5        State of Michigan                                          Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          Consumer Protectiveion Division                            When was the debt incurred?
          670 G. Mermen Williams Building
          525 West Ottawa
          Lansing, MI 48933
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.6
 6        SYNCB / JC Penny DC                                        Last 4 digits of account number       0167                                            $7,835.00
          Nonpriority Creditor's Name
          PO Box 965007                                              When was the debt incurred?           07/2014
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 25 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 47
                                                        47 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.6
 7        SYNCB / Old Navy DC                                        Last 4 digits of account number       2126                                            $2,032.00
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?           07/2018
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card


 4.6
 8        Synchrony Bank                                             Last 4 digits of account number       4450                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 10/27/13 Last Active
          Po Box 965060                                              When was the debt incurred?           6/30/15
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.6
 9        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       0201                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/23/12 Last Active
          Po Box 956060                                              When was the debt incurred?           12/15/13
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 26 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 48
                                                        48 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.7
 0        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       6208                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/71 Last Active
          Po Box 956060                                              When was the debt incurred?           11/26/13
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.7
 1        Synchrony Bank/Amazon                                      Last 4 digits of account number       1562                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/05/15 Last Active
          Po Box 965060                                              When was the debt incurred?           5/05/16
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.7
 2        Synchrony Bank/QVC                                         Last 4 digits of account number       6014                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 4/23/10 Last Active
          Po Box 965060                                              When was the debt incurred?           10/04/10
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 27 of 31
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          Case
           Case8:19-bk-12917-MW
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                                            PDF Page
                                                   Page 49
                                                        49 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.7
 3        Synchrony Bank/Walmart                                     Last 4 digits of account number       9220                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/27/13 Last Active
          Po Box 965060                                              When was the debt incurred?           4/24/16
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Charge Account


 4.7
 4        Todd A. Brisco & Associates, APC                           Last 4 digits of account number       3636                                            Unknown
          Nonpriority Creditor's Name
          2200 W Orangewood Ave                                      When was the debt incurred?           04/2019
          Orange, CA 92868
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only


 4.7
 5        Tri Peak Construction & Design, Inc                        Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          321 Lido Ct.                                               When was the debt incurred?
          Camarillo, CA 93010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Purposes Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 28 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 50
                                                        50 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.7
 6        Union Bank                                                 Last 4 digits of account number       9183                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/16 Last Active
          Po Box 30240                                               When was the debt incurred?           1/09/19
          Los Angeles, CA 90030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Line Secured


 4.7
 7        Union Bank                                                 Last 4 digits of account number       7073                                                  $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/16 Last Active
          Po Box 30240                                               When was the debt incurred?           1/09/19
          Los Angeles, CA 90030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Real Estate Mortgage


 4.7
 8        Union Bank                                                 Last 4 digits of account number       9737                                                $92.04
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                      When was the debt incurred?
          Po Box 30240
          Los Angeles, CA 90030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Regular Checking Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 29 of 31
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                            PDF Page
                                                   Page 51
                                                        51 of
                                                           of 88
                                                              90
 Debtor 1 Suzanne H. Uppman                                                                              Case number (if known)

 4.7
 9        Union Bank                                                 Last 4 digits of account number       9737                                              $975.47
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                      When was the debt incurred?
          Po Box 30240
          Los Angeles, CA 90030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          SHU Cash Reserve Acccount-Loans and
           Yes                                                       Other. Specify     Lines of Credit

 4.8
 0        US Bank/RMS CC                                             Last 4 digits of account number       1464                                          $11,532.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/15 Last Active
          Po Box 6351                                                When was the debt incurred?           4/24/19
          Fargo, ND 58125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Ralph's Credit Card


 4.8
 1        Wells Fargo Bank                                           Last 4 digits of account number       7185                                            $8,012.00
          Nonpriority Creditor's Name
          Mac F823f-02f                                                                                    Opened 01/94 Last Active
          Po Box 10438                                               When was the debt incurred?           6/07/19
          Des Moines, IA 50306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 30 of 31
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           Case
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                                             PDF Page
                                                    Page 52
                                                         52 of
                                                            of 88
                                                               90
 Debtor 1 Suzanne H. Uppman                                                                               Case number (if known)

 4.8
 2         Wells Fargo Bank NA                                       Last 4 digits of account number        8425                                                          $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                 Opened 12/21/93 Last Active
           1 Home Campus Mac X2303-01a                               When was the debt incurred?            8/22/11
           Des Moines, IA 50328
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Credit Card

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Newmark Grubb Knight Frank                                    Line 4.58 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 19700 Fairchild Road                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 300
 Irvine, CA 92612
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robert Powells                                                Line 4.60 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 5400                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Incline Village, NV 89450
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                    7,760.28
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    7,760.28

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              2,153,366.03

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              2,153,366.03




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 31 of 31
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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
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                                                       Page 53
                                                            53 of
                                                               of 88
                                                                  90
 Fill in this information to identify your case:

 Debtor 1                Suzanne H. Uppman
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      RPM Summit Group, LLC                                                   Franchise Agreement Number 116 for City of Long
              770 Mays Blvd.                                                          Beach, California and Huntington Beach, California.
              #5400
              Incline Village, NV 89450




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
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                                          Document
                                                PDF Page
                                                       Page 54
                                                            54 of
                                                               of 88
                                                                  90
 Fill in this information to identify your case:

 Debtor 1                   Suzanne H. Uppman
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes Suzanne's Candy Legacy, LLC

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time? No.


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Suzanne's Candy Legacy, LLC                                                            Schedule D, line
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G




Official Form 106H                                                             Schedule H: Your Codebtors                                   Page 1 of 1
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             Case
              Case8:19-bk-12917-MW
                   8:19-bk-12917-MW Doc
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                                     CORRECT
                                         Document
                                               PDF Page
                                                      Page 55
                                                           55 of
                                                              of 88
                                                                 90


Fill in this information to identify your case:

Debtor 1                      Suzanne H. Uppman

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                              Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                  Main
                                   CORRECT
                                       Document
                                             PDF Page
                                                    Page 56
                                                         56 of
                                                            of 88
                                                               90

Debtor 1    Suzanne H. Uppman                                                                    Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.     $                 0.00     $               N/A
     5b.     Mandatory contributions for retirement plans                                 5b.     $                 0.00     $               N/A
     5c.     Voluntary contributions for retirement plans                                 5c.     $                 0.00     $               N/A
     5d.     Required repayments of retirement fund loans                                 5d.     $                 0.00     $               N/A
     5e.     Insurance                                                                    5e.     $                 0.00     $               N/A
     5f.     Domestic support obligations                                                 5f.     $                 0.00     $               N/A
     5g.     Union dues                                                                   5g.     $                 0.00     $               N/A
     5h.     Other deductions. Specify:                                                   5h.+    $                 0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $                 0.00     $               N/A
     8b. Interest and dividends                                                           8b.     $                 0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $             0.00         $               N/A
     8d. Unemployment compensation                                                        8d.     $             0.00         $               N/A
     8e. Social Security                                                                  8e.     $         2,234.00         $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,234.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,234.00 + $             N/A = $          2,234.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         2,234.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
       Case
        Case8:19-bk-12917-MW
             8:19-bk-12917-MW Doc
                               Doc1-2
                                   1 Filed
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                                   Document
                                         PDF Page
                                                Page 57
                                                     57 of
                                                        of 88
                                                           90


Fill in this information to identify your case:

Debtor 1              Suzanne H. Uppman                                                                    Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            6,331.46

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           100.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                           100.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
      Case
       Case8:19-bk-12917-MW
            8:19-bk-12917-MW Doc
                              Doc1-2
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                              CORRECT
                                  Document
                                        PDF Page
                                               Page 58
                                                    58 of
                                                       of 88
                                                          90

Debtor 1     Suzanne H. Uppman                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               437.85
      6b. Water, sewer, garbage collection                                                                   6b.   $                               131.68
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Street SWEP / Trash / Water Maintenance                                            6d.   $                                62.88
             Pool Maintenance                                                                                      $                               100.00
7.    Food and housekeeping supplies                                                           7.                  $                               325.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                 0.00
10.   Personal care products and services                                                    10.                   $                                 0.00
11.   Medical and dental expenses                                                            11.                   $                               250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   80.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     8,468.87
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     8,468.87
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,234.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,468.87

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -6,234.87

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: Increase in house payment from $2,730.89 to $6,331.46.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Case
 Case8:19-bk-12917-MW
      8:19-bk-12917-MW Doc
                        Doc1-2
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                                  PDF Page
                                         Page 59
                                              59 of
                                                 of 88
                                                    90
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               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
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                                      CORRECT
                                          Document
                                                PDF Page
                                                       Page 60
                                                            60 of
                                                               of 88
                                                                  90


 Fill in this information to identify your case:

 Debtor 1                  Suzanne H. Uppman
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

5.     Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
       and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
       winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               No
               Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                       Document
                                             PDF Page
                                                    Page 61
                                                         61 of
                                                            of 88
                                                               90
 Debtor 1      Suzanne H. Uppman                                                                           Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                           $27,408.00
 the date you filed for bankruptcy:   Benefits

 For last calendar year:                           Social Security                              $26,052.00
 (January 1 to December 31, 2018 )

 For the calendar year before that:                Social Security and                          $56,908.00
 (January 1 to December 31, 2017 )                 Long Term Benefits


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.
            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Suzanne Uppman                                            Various dates of             $93,000.00                  $0.00        Mortgage
       8602 East Sunnywalk Lane                                  payments. Please                                                      Car
       Anaheim, CA 92808                                         see bank                                                              Credit Card
                                                                 statements for                                                        Loan Repayment
                                                                 further detail.                                                       Suppliers or vendors
                                                                                                                                       Other Please refer to
                                                                                                                                    bank statements for
                                                                                                                                    transfers to business.


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                  Main
                                   CORRECT
                                       Document
                                             PDF Page
                                                    Page 62
                                                         62 of
                                                            of 88
                                                               90
 Debtor 1      Suzanne H. Uppman                                                                           Case number (if known)



8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Itria Ventures LLC vs Suzanne's                                                      New York Supreme Court,                      Pending
       Candy Legacy, LLC, et al.                                                            Kings County                                 On appeal
       1540/2019                                                                            360 Adams Street                             Concluded
                                                                                            Kings County Civic Center
                                                                                            Brooklyn, NY 11201

       Suzanne Uppman v RPM Summit                                                                                                       Pending
       Group, LLC, et al. -                                                                                                              On appeal
       Potential Claim                                                                                                                   Concluded

                                                                                                                                     Potential claim against
                                                                                                                                     RPM Summit Group, LLC -
                                                                                                                                     Amount Unknown.


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Itria Ventures LLC                                        Union Bank Account(s) ending: 9661, 7054,                    Approx.                      $4,088.48
       462 Seventh Ave 20th Fl                                   6154 and 9411.                                               05-29-19
       New York, NY 10018
                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
        Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
            No
            Yes



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
                                   Doc1-2
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                                  Main
                                   CORRECT
                                       Document
                                             PDF Page
                                                    Page 63
                                                         63 of
                                                            of 88
                                                               90
 Debtor 1      Suzanne H. Uppman                                                                           Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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           Case
            Case8:19-bk-12917-MW
                 8:19-bk-12917-MW Doc
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                                   CORRECT
                                       Document
                                             PDF Page
                                                    Page 64
                                                         64 of
                                                            of 88
                                                               90
 Debtor 1      Suzanne H. Uppman                                                                            Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
        Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       SEE ATTACHMENT FOR INVENTORY                                  See attachment                         See attachment                      No
                                                                                                                                                Yes


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 65
                                                        65 of
                                                           of 88
                                                              90
 Debtor 1      Suzanne H. Uppman                                                                                Case number (if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Suzanne's Candy Legacy LLC                                Food Service - Sole Manager and                     EIN:       XX-XXXXXXX
       5282 2nd Street                                           Member owning 100%.
       Long Beach, CA 90803-5331                                                                                     From-To    approx. November 16, 2015 to
                                                                 Akore Berliner, CPA                                            May 29, 2019
                                                                 AB CPA Inc.


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6
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Case
 Case8:19-bk-12917-MW
      8:19-bk-12917-MW Doc
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                                  PDF Page
                                         Page 66
                                              66 of
                                                 of 88
                                                    90
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      8:19-bk-12917-MW Doc
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                       Main
                        CORRECT
                            Document
                                  PDF Page
                                         Page 67
                                              67 of
                                                 of 88
                                                    90



                                        Exhibit 1
                                in support of question 19
                              Suzanne’s Candy Legacy, LLC
                                   Assets and liabilities


                                  Assets                                   Value

 Potential claims against the Franchisor: the potential claims have                Unknown
 not been evaluated by any legal counsel.

 Furniture, fixtures, and equipment: currently in various storage        Less than $10,000
 units.

 Inventory: currently in storage.                                         Less than $2,000

 Signage: currently in storage.                                           Less than $5,000

                              Liabilities                             Amount of Debt

 Lease for Long Beach store                                                 Approximately
                                                                      $1,000,000. Disputed/
                                                                                contingent.

 Miscellaneous vendor debts                                                     Unknown.
                                                                        Disputed/ ontingent

 Potential claims of Rocket Fizz, LLC                                           Unknown.
                                                                        Disputed/ ontingent
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               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
                                      Doc1-2
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                                     Main
                                      CORRECT
                                          Document
                                                PDF Page
                                                       Page 68
                                                            68 of
                                                               of 88
                                                                  90

 Fill in this information to identify your case:

 Debtor 1                 Suzanne H. Uppman
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)
                                                                                                                              Check if this is an
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         Oak Angel Mortgage Solutions LLC                    Surrender the property.                          No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a             Yes
    Description of 8602 E Sunnywalk Lane                                     Reaffirmation Agreement.
    property       Anaheim, CA 92808-1689                                  Retain the property and [explain]:
    securing debt: Orange County                                           Continue making monthly payments.
                                                                          Currently late by two months.

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                                                                                                          No
 Description of leased
 Property:                                                                                                               Yes

 Lessor's name:                                                                                                          No
 Description of leased
 Property:                                                                                                               Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                page 1

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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                      Document
                                            PDF Page
                                                   Page 69
                                                        71 of
                                                           of 88
                                                              90
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
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                                 Main
                                  CORRECT
                                      Document
                                            PDF Page
                                                   Page 70
                                                        72 of
                                                           of 88
                                                              90


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                 Main
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                                      Document
                                            PDF Page
                                                   Page 71
                                                        73 of
                                                           of 88
                                                              90
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $75       administrative fee                                          factors.
                   $275       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                 fiduciary capacity,
                   $310       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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          Case
           Case8:19-bk-12917-MW
                8:19-bk-12917-MW Doc
                                  Doc1-2
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                                      Document
                                            PDF Page
                                                   Page 72
                                                        74 of
                                                           of 88
                                                              90
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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            Case
             Case8:19-bk-12917-MW
                  8:19-bk-12917-MW Doc
                                    Doc1-2
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                                        Document
                                              PDF Page
                                                     Page 73
                                                          75 of
                                                             of 88
                                                                90
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re       Suzanne H. Uppman                                                                                 Case No.
                                                                                  Debtor(s)                    Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                   $                    4,500.00
             Prior to the filing of this statement I have received                                         $                    4,500.00
             Balance Due                                                                                   $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Representation of the debtor(s) at the first meeting of creditors.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding. No tax advice of any sort.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 26, 2019                                                                /s/ Judith E. Marshack
     Date                                                                         Judith E. Marshack
                                                                                  Signature of Attorney
                                                                                  MARSHACK HAYS LLP
                                                                                  870 Roosevelt
                                                                                  Irvine, CA 92620-3663
                                                                                  (949) 333-7777 Fax: (949) 333-7778
                                                                                  jmarshack@marshackhays.com
                                                                                  Name of law firm




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              Case
               Case8:19-bk-12917-MW
                    8:19-bk-12917-MW Doc
                                      Doc1-2
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                                                PDF Page
                                                       Page 74
                                                            76 of
                                                               of 88
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 Fill in this information to identify your case:                                                    Check one box only as directed in this form and in Form
                                                                                                    122A-1Supp:
 Debtor 1              Suzanne H. Uppman
 Debtor 2
 (Spouse, if filing)
                                                                                                       1. There is no presumption of abuse
 United States Bankruptcy Court for the:            Central District of California                     2. The calculation to determine if a presumption of abuse
                                                                                                             applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                       3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.
                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                  living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                             0.00      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
     Gross receipts (before all deductions)                   $     0.00
        Ordinary and necessary operating expenses                         -$         0.00
        Net monthly income from a business, profession, or farm $                    0.00 Copy here -> $              0.00      $
  6. Net income from rental and other real property
                                                                                      Debtor 1
        Gross receipts (before all deductions)                             $         0.00
        Ordinary and necessary operating expenses                         -$         0.00
        Net monthly income from rental or other real property             $          0.00 Copy here -> $              0.00      $
                                                                                                       $              0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Case8:19-bk-12917-MW
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                                         Page 75
                                              77 of
                                                 of 88
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                                         Page 76
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                         Suzanne H. Uppman
                         8602 E. Sunnywalk Lane
                         Anaheim, CA 92808-1689


                         Richard A. Marshack
                         MARSHACK HAYS LLP
                         870 Roosevelt
                         Irvine, CA 92620-3663


                         Office of the United States Trustee
                         411 W. Fourth Street
                         Suite 9041
                         Santa Ana, CA 92701
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                                         Page 78
                                              80 of
                                                 of 88
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                     American Express
                     PO Box 981537
                     El Paso, TX 79998-1537


                     American Express
                     PO Box 981537
                     El Paso, TX 79998


                     American First Credit
                     6 Pointe D R Ste 400am F
                     Brea, CA 92821


                     Amex
                     Correspondence/Bankruptcy
                     Po Box 981540
                     El Paso, TX 79998


                     California Dept. of Tax & Fee Admin
                     P.O. Box 942789
                     Sacramento, CA 94279-3535


                     Capital One
                     PO Box 30285
                     Salt Lake City, UT 84130


                     Capital One
                     Attn: Bankruptcy
                     Po Box 30285
                     Salt Lake City, UT 84130


                     Chase Card Services
                     PO Box 15369
                     Wilmington, DE 19850-5798
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                                         Page 79
                                              81 of
                                                 of 88
                                                    90


                     Chase Card Services
                     Attn: Bankruptcy
                     Po Box 15298
                     Wilmington, DE 19850


                     Citi
                     PO Box 6190
                     Sioux Falls, SD 57117


                     Citi Cards/Citibank
                     PO Box 6241
                     Sioux Falls, SD 57117


                     Citibank
                     Attn: Recovery/Centralized Bankruptcy
                     Po Box 790034
                     St Louis, MO 63179


                     City of Long Beach
                     333 West Ocean Blvd.
                     Long Beach, CA 90802


                     Comenity Bank/Overstock
                     Attn: Bankruptcy
                     Po Box 182125
                     Columbus, OH 43218


                     Comenity Capital Bank/HSN
                     Attn: Bankruptcy Dept
                     Po Box 182125
                     Columbus, OH 43218


                     Comenity Capital/hsnmc
                     Attn: Bankruptcy
                     Po Box 182125
                     Columbus, OH 43218
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                                         Page 80
                                              82 of
                                                 of 88
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                     Comenity CB/HSN
                     PO Box 182120
                     Columbus, OH 43218


                     Commissioner of the Department of
                     Business Oversight
                     320 West 4th Street, Suite 750
                     Los Angeles, CA 90013


                     Conejo Valley
                     1390 Flynn Road, Suite F
                     Camarillo, CA 93012


                     Costco Anywhere Visa Card
                     Attn: Bankruptcy
                     Po Box 6500
                     Sioux Falls, SD 57117


                     Department of Business Oversight
                     320 West 4th Street, Suite 750
                     Los Angeles, CA 90013


                     Dept Of Ed/582/nelnet
                     Attn: Bankruptcy Department
                     3015 Parker Blvd., Suite 400
                     Aurora, CO 80014


                     Discover Bank
                     PO Box 15316
                     Wilmington, DE 19850


                     Discover Financial
                     Attn: Bankruptcy Department
                     Po Box 15316
                     Wilmington, DE 19850
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                                         Page 81
                                              83 of
                                                 of 88
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                     Discover Financial Services
                     PO Box 15316
                     Wilmington, DE 19850


                     Discover Personal Loan
                     Attn: Bankruptcy
                     Po Box 30954
                     Salt Lake City, UT 84130


                     EDCO
                     P.O. Box 116
                     Lakewood, CA 90714


                     Elavon
                     P.O. Box 86
                     Minneapolis, MN 55486-2291


                     Employment Development Department
                     Bankruptcy Group MIC 92E
                     P.O. Box 826880
                     Sacramento, CA 94280-0001


                     Fidelity Brokerage Services, LLC
                     Member NYSE, SIPC
                     900 Salem Street
                     Smithfield, RI 02917


                     Franchise Tax Board
                     Bankruptcy Section, MS:A-340
                     PO Box 2952
                     Sacramento, CA 95812-2952


                     Franchise Tax Board
                     Bankruptcy Section, MS:A-340
                     P.O. Box 2952
                     Sacramento, CA 95812-2952
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                                         Page 82
                                              84 of
                                                 of 88
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                     Frontier Communications
                     P.O. Box 740407
                     Cincinnati, OH 45274-0407


                     Fundzio LLC
                     6499 Powerline Road, Suite 108
                     Fort Lauderdale, FL 33309


                     Internal Revenue Service
                     P.O. Box 7346
                     Philadelphia, PA 19101-7346


                     Itria Ventures LLC
                     462 Seventh Ave 20th Fl
                     New York, NY 10018


                     Jaime Uppman Holzhauer
                     8602 E. Sunnywalk Lane
                     Anaheim, CA 92808-1689


                     John C. Lostetter
                     5325 E. Pacific Coast Highway, Box
                     Long Beach, CA 90804


                     Jonathan S. Gitlin, Esq.
                     462 Seventh Ave 20th Fl
                     New York, NY 10018


                     Kabbage, Inc.
                     PO Box 77081
                     Houston, TX 77081
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                                         Page 83
                                              85 of
                                                 of 88
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                     Kohls /Capone
                     PO Box 3115
                     Milwaukee, WI 53201


                     Kris Simonich
                     1421 Ambleside Circle
                     Naperville, IL 60540


                     Lewitt, Hackman, Shapiro, Marshall
                     16633 Ventura Boulevard, 11th Floor
                     Encino, CA 91436


                     LoanMe, Inc.
                     Attn: Bankruptcy
                     1900 S State College Blvd
                     Anaheim, CA 92806


                     Los Angeles County Tax Collector
                     PO Box 54027
                     Los Angeles, CA 90054


                     Mufg Union Bank N.a.
                     Attn: Bankruptcy Dept
                     400 California Street 12th Floor
                     San Francisco, CA 94104


                     Nelnet
                     Attn: Claims
                     Po Box 82505
                     Lincoln, NE 68501


                     Nelnet / Education Financial
                     PO Box 82561
                     Lincoln, NE 68501
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                                         Page 84
                                              86 of
                                                 of 88
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                     Newmark Grubb Knight Frank
                     19700 Fairchild Road
                     Suite 300
                     Irvine, CA 92612


                     Nordstrom /TD Bank USA
                     13531 E Caley Ave
                     Englewood, CO 80111


                     Nordstrom FSB
                     Attn: Bankruptcy
                     Po Box 6555
                     Englewood, CO 80155


                     Oak Angel Mortgage Solutions LLC
                     980 Hammond Dr Ste 850
                     Atlanta, GA 30328-8120


                     Ocwen Loan Servicing, LLC
                     1661 Worthington Road
                     Suite 100
                     West Palm Beach, FL 33409


                     OneWest Bank Mortgage Servicing
                     Attn: Bankruptcy, OneWest Bank
                     Po Box 7056
                     Pasadena, CA 91109


                     POD'S ENTERPRISE, LLC
                     5585 Rio Vista Drive
                     Clearwater, FL 33760


                     Rebecca's Janitorial
                     700 E Washington St #94
                     Colton, CA 92324
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                                         Page 85
                                              87 of
                                                 of 88
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                     Rhett Batanides
                     2907 Providence Road, Suite 302
                     Charlotte, NC 28211


                     Robert Powells
                     P.O. Box 5400
                     Incline Village, NV 89450


                     Rocket Fizz, LLC
                     770 MaysBlvd., #5400
                     Incline Village, NV 89450


                     Roger Kube
                     1455 Frazee Rd Ste 550
                     San Diego, CA 92108


                     RPM Summit Group, LLC
                     770 Mays Blvd.
                     #5400
                     Incline Village, NV 89450


                     Santa Fe Management, Inc.
                     11021 Winners Circle #200
                     Los Alamitos, CA 90720


                     Scott Holzhauer
                     3493 Shipway Avenue
                     Long Beach, CA 90808


                     Sears / CBNA
                     PO Box 6217
                     Sioux Falls, SD 57117
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                                         Page 86
                                              88 of
                                                 of 88
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                     Select Portfolio Services
                     P.O. Box 65250
                     Salt Lake City, UT 84165-0250


                     Select Portfolio Servicing, Inc
                     Attn: Bankruptcy
                     Po Box 65250
                     Salt Lake City, UT 84165


                     State of Michigan
                     Consumer Protectiveion Division
                     670 G. Mermen Williams Building
                     525 West Ottawa
                     Lansing, MI 48933


                     Suzanne's Candy Legacy, LLC



                     SYNCB / JC Penny DC
                     PO Box 965007
                     Orlando, FL 32896


                     SYNCB / Old Navy DC
                     PO Box 965005
                     Orlando, FL 32896


                     Synchrony Bank
                     Attn: Bankruptcy Dept
                     Po Box 965060
                     Orlando, FL 32896


                     Synchrony Bank/ JC Penneys
                     Attn: Bankruptcy
                     Po Box 956060
                     Orlando, FL 32896
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                            Document
                                  PDF Page
                                         Page 87
                                              89 of
                                                 of 88
                                                    90


                     Synchrony Bank/Amazon
                     Attn: Bankruptcy
                     Po Box 965060
                     Orlando, FL 32896


                     Synchrony Bank/QVC
                     Attn: Bankruptcy Dept
                     Po Box 965060
                     Orlando, FL 32896


                     Synchrony Bank/Walmart
                     Attn: Bankruptcy
                     Po Box 965060
                     Orlando, FL 32896


                     Todd A. Brisco & Associates, APC
                     2200 W Orangewood Ave
                     Orange, CA 92868


                     Tri Peak Construction & Design, Inc
                     321 Lido Ct.
                     Camarillo, CA 93010


                     Union Bank
                     Attn: Bankruptcy
                     Po Box 30240
                     Los Angeles, CA 90030


                     Union Bank
                     Attention: Bankruptcy
                     Po Box 30240
                     Los Angeles, CA 90030


                     US Bank/RMS CC
                     Attn: Bankruptcy
                     Po Box 6351
                     Fargo, ND 58125
Case
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                        CORRECT
                            Document
                                  PDF Page
                                         Page 88
                                              90 of
                                                 of 88
                                                    90


                     Wells Fargo Bank
                     Mac F823f-02f
                     Po Box 10438
                     Des Moines, IA 50306


                     Wells Fargo Bank NA
                     Attn: Bankruptcy
                     1 Home Campus Mac X2303-01a
                     Des Moines, IA 50328
